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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTÍNEZ GONZÁLEZ, ET AL.,
Plaintiffs
           vs.
CATHOLIC SCHOOLS OF THE
ARCHDIOCESES OF SAN JUAN PENSION
PLAN, ET AL,
Defendants                                                           CIVIL No. 16-2077 (GAG)


_____________________________________                                _______________________
NORMA CARDOZA ESTREMERA, ET AL.,
Plaintiffs                                                              CIVIL NO. 16-2318
            vs.
 COLEGIO PADRE BERRIOS, ET AL.,
 Defendants

 ___________________________________________________________________________


      MOTION FOR EXTENSION OF TIME TO FILE A DISPOSITIVE
          MOTION AS TO THE CHURCH PLAN EXEMPTION

       TO THE HONORABLE COURT:

       COMES NOW Plaintiffs Norma Cardoza and Candida Perez, through the undersigned

counsel, and very respectfully state and pray as follows:

       1. On March 30, 2017, this Honorable Court entered an Order indicating that the deadline

to file dispositive motions as to the Church Plan Exemption was set for November 20, 2017. See,

Docket No. 113.

       2. Notwithstanding this attorney efforts to comply with this schedule once the case

consolidated, it was impossible to complete and file such motion within the period of time

scheduled by the Court.

       3. Therefore, Plaintiffs request an extension of time of thirty (30) days, until December 20,

2017, to file a dispositive motion as to the Church Plan Exemption in this case.
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       WHEREFORE, the undersigned counsel respectfully requests this Honorable Court that

for the reason stated here above grants the extension of time of thirty (30) days, until December

20, 2017.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 20th of November of 2017.

       IT IS HEREBY CERTIFIED that on this same date a true and exact copy of the

foregoing was filed electronically with the Clerk of the Court via the CM/ECF system,

which will send notification of such filing to all attorneys of record.


                                                            s/ Luis Vivaldi Oliver
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